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                             Exhibit C
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12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                            NON-PROSECUTION
14                                          AGREEMENT OF RAY LAHOOD

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17    I.    INTRODUCTION

18          1.   This Non-Prosecution Agreement (the "NPA") is entered into

19    between the United States Attorney's Office for the Central District

20    of California ("USAO") and Ray LaHood ("LaHood").        This NPA is

21    limited to the USAO and cannot bind any other federal, state, local

22    or foreign prosecuting, enforcement, administrative, or regulatory

23    authorities.

24          2.   This NPA is entered into to resolve the USAO's criminal

25    investigation of LaHood's role and conduct relating to a $50,000

26    financial transaction between LaHood and Toufic Baaklini in or

27    around June 2012, which includes, but is not limited to, LaHood's

28    failure to include this information in his Office of Government
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 1                           EXHIBIT A: STATEMENT OF FACTS

 2          LaHood states and agrees that the following facts are true and

 3    correct and could be proven beyond a reasonable doubt:

 4          1.    From on or about January 23, 2009, until on or about July

 5    1, 2013, LaHood served as the United States Secretary of

 6    Transportation.

 7          2.    In July 2009, LaHood served as a keynote speaker at the

 8    Annual Maronite Convention in Los Angeles, California (the

 9    "Convention") .

10          3.    Individual A, a priest, was also in attendance at the

11    Convention.    During the Convention, Individual A invited LaHood to a

12    private gathering at the California home of Gilbert Chagoury

13     ("Chagoury"), a wealthy international businessman.        Chagoury is a

14    foreign national and not a citizen of the United States.           At the
15    gathering, LaHood met Chagoury and also met Toufic Baaklini

16     ("Baaklini"), who served as one of Chagoury's representatives in the

17    United States.

18          4.    In 2011 and 2012, LaHood was suffering significant

19    financial difficulties in part due to problems from home remediation

20    and sought funds to conduct home repairs.        LaHood met with

21    Individual A in May 2012 to request that Individual A refer LaHood

22    to an individual who would provide LaHood with a $50,000 loan to

23    help LaHood cover his home repair costs.        At their meeting,

24    Individual A suggested to LaHood that Individual A would call

25    Chagoury to ask him to provide a loan to LaHood.

26          5.   Approximately two days after their meeting, Individual A

27    called LaHood by telephone and told him that he had secured a source

28    of funds for LaHood.     Individual A told LaHood that upon Individual

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 1    A's request, Baaklini would facilitate the loan to LaHood of

 2    $50,000.    Individual A instructed LaHood to call Baaklini to discuss

 3    the terms of the loan.     Baaklini told LaHood that because of

 4    Individual A's request, he was prepared to provide LaHood with a

 5    loan for $50,000 and that he had consulted a lawyer who advised that

 6    a loan to a public official like Mr. LaHood could be permissible.

 7          6.    On June 1, 2012, Baaklini and LaHood met in Washington,

 8    D.C. and Baaklini provided LaHood with a personal check for $50,000

 9    (the "$50,000 Check").     In the Memo portion of the check, Baaklini

10    wrote "Loan."

11          7.   Although it was not expressly discussed with Baaklini,

12    based on the circumstances of LaHood seeking these funds, LaHood

13    understood that Chagoury provided Baaklini with the funds for the

14    $50,000 Check for LaHood.

15          8.   LaHood negotiated the $50,000 Check and used the funds for

16    home repairs.

17          9.   During his tenure as the United States Secretary of

18    Transportation, Mr. LaHood was obligated on an annual basis to
                   '
19    submit an Executive Branch Personnel Public Financial Disclosure

20    Report (OGE Form 278) to the United States Office of Government

21    Ethics (OGE).    According to the OGE, the OGE Form 278 was designed

22    to ensure transparency for Executive Branch Personnel.

23    Specifically, the OGE website notes that:

24          Transparency is a critical part of government ethics, and
            Congress has determined that the citizens should know
25          their leaders' financial interests. To facilitate such
            transparency, Congress enacted the financial disclosure
26          provisions of the Ethics in Government Act. The Act
            imposes detailed requirements for public financial
27          disclosure by senior United States Government officials.
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 1          10.   Among other financial disclosures, Form 278 requires the

 2    filer to disclose any liabilities over $10,000 owed to any one

 3    creditor at any time during the reporting period.         Form 278 further

 4    requires the filer to certify by signature that "the statements I

 5    have made on this form and all attached schedules are true, complete

 6    and correct to the best of my knowledge."

 7          11.   LaHood knew that he was required to disclose the $50,000

 8    Check on his annual Form 278.

 9          12.   On May 15, 2013, Mr. LaHood submitted his Form 278 for the

10    calendar year 2012 (the "2012 Form 278").        LaHood reported various

11    liabilities owed on his 2012 Form 278.       However, LaHood willfully

12    did not disclose the $50,000 Check on the 2012 Form 278.          Further

13    LaHood falsely certified that the information contained on the 2012

14    Form 278 was complete and correct; LaHood knew this certification to

15    be false because he willfully failed to disclose the $50,000 Check.

16          13.   Following the completion of his tenure as United States

17    Secretary of Transportation in July 2013, Mr. LaHood was required to

18    submit a final Form 278 for the period of 2013 during which he

19    served as a member of the Executive Branch.        Accordingly, on July

20    29, 2013, Mr. LaHood submitted a Form 278 for the reporting period

21    from January 1, 2013, through his termination date of July 1, 2013

22     (the "2013 Form 278").    LaHood reported various liabilities owed on

23    his 2013 Form 278.     However, LaHood willfully again did not disclose

24    the $50,000 Check on the 2013 Form 278.        Further, LaHood falsely

25    certified that the information contained on the 2013 Form 278 was

26    complete and correct; Mr. LaHood knew this certification to be false

27    because he willfully failed to disclose the $50,000 Check.

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 1            14.   LaHood failed to disclose the $50,000 Check in his 2012

 2    Form 278 and his 2013 Form 278 because he had reason to believe that

 3    Chagoury was the ultimate source of the $50,000 Check and because he

 4    did not want publicly to be associated with this Chagoury who, in

 5    2009, was reported to have been on the U.S.       "No Fly List."

 6            15.   In June 2017, FBI Special Agents interviewed LaHood.

 7    LaHood initially denied receiving a loan from Baaklini.         After he

 8    was shown a copy of the $50,000 Check, LaHood acknowledged receiving

 9    the $50,000 Check from Baaklini.      LaHood stated that he received the

10    money from Baaklini as a loan but could not recall any terms of the

11    loan.     LaHood acknowledged that he had not repaid Baaklini any

12    amount of the money and Baaklini had not asked to be repaid in the

13    five years since Baaklini provided the $50,000 Check.         In addition,

14    LaHood did not inform the agents that he understood that Chagoury

15    was                           funds for the $50,000 Check.

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